Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13 Page 1 of 45

iL a this information to identify your case:

Debtor 1 John J. Burkhardt Jr.

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of Connecticut
Case number 19-50920

{If known)

 

 

 

Official Form 106Sum

 

UY Check if this is an
amended filing

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
. information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

| Part 4: | Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B......

1b. Copy line 62, Total personal property, from Schedule A/B

 

1c. Copy line 63, Total of all property on Schedule A/B ....

Your. assets _ ae
Value of what you own

 

 

| Part 2: | Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

$_ 370,000.00
$ 3,278.00
$__ 373,278.00

 

 

Your liabilities
Amount you owe.

 

 

 

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ __ 439,975.86
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F......cccccsecsscessssssesesssseseesesseses $___ ae
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F ......e.ccccccscesescessesessecseeses + 0.00
Your total liabilities $ 439,975.86
| Part 3: | Summarize Your Income and Expenses

4. Schedule I: Your Income (Official Form 1061) 1.078.00
Copy your combined monthly income from line 12 of Schedule | see

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule J.... $ ___3,208.00

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 1 of 2

 
Case 19-50920 Docg9 Filed 07/23/19 Entered 07/24/1

9 16:12:13 Page 2 of 45

Debtor? John J. Burkhardt Jr. Case number rinown,19-50920

 

First Name Middle Name Last Name

Er Answer These Questions for Administrative and Statistical Records

 

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

Yes

CD No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

 

7. What kind of debt do you have?

this form to the court with your other schedules.

i Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

L) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

 

Form 1224-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

 

$ 373.00

 

 

 

 

9, Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

Total claim — : a
From Part 4on Schedule EMF, copy the following : : -

9a. Domestic support obligations (Copy line 6a.) g_—s—Cé«
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) s_—«*«00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) gs ——C*«00
9d. Student loans. (Copy line 6f.) gs —«00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
priority claims. (Copy line 6g.) er

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 0.00

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 2 of 2

 
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13 Page 3 of 45

Fill in this information to identify your case and this filing:

Debtor 4 John . Burkkhardt Jr.

First Name Middie Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

 

United States Bankruptcy Court for the: District of Connecticut
19-50920

Case number

 

U) Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

Ea Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

4. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

LI) No. Go to Part 2.
4 Yes. Where is the property?

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

w Single-family home the amount of any secured claims on Schedule D:

11. 146 Culloden Road Creditors Who Have Claims Secured by Property.

D ‘unit buildi
Street address, if available, or other description u uplex or multi-unit building

 

 

 

 

UI Condominium or cooperative Current value of the Current value of the
LJ Manufactured or mobile home entire property? portion you own?
Q) Land $ 370,000.00 ¢ 370,000.00
CD investment property
Stamford CT 06902 ( Timeshare Describe the nature of your ownership
City State ZIP Code interest (such as fee simple, tenancy by
CY Other

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one. fee simple

 

 

Fairfield ( Debior 1 only
County O) Debtor 2 only
UO) Debtor 4 and Debtor 2 only CI Check if this is community property

CI At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:

i 2
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
) Single-family home the amount of any secured claims on Schedule D:

1.2. Creditors Who Have Claims Secured by Property.

 

Duple unit buildi
Street address, if available, or other description a uplex or multi-unit building

 

 

 

CQ) Condominium or cooperative Current value of the Current value of the
C1] Manufactured or mobile home entire property? portion you own?
OQ) Land $ $
Q) Investment property | .

City State Zi Code UW Timeshare inforest (such os fee citvnle, tennan y
C other the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.
UY Debtor 4 only

 

 

County Cd Debtor 2 only
Cl Debtor 4 and Debtor 2 only L) Check if this is community property
C) At least one of the debtors and another (see instructions)

Other information you wish te add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13 Page 4 of 45

 

 

 

 

 

 

 

 

 

 

 

Debtor1 ohn J. Burkkhardt Jr. Case number (rinown 19-50920
First Name Middie Name Last Name
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
‘ fami the amount of any secured claims on Schedule D:
1.3. O Single-family home Creditors Who Have Claims Secured by Property.
Street address, if available, or other description CL] Duplex or multi-unit building . .
( condominium or cooperative Current value of the Current value of the
CL} Manufactured or mobile home entire property? Portion you own?
UL) Land § $
CJ) investment property
City Stale ZIP Code (Q Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by
CQ) other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
CQ Debtor 1 only
County LJ Debtor 2 only
LJ Debtor 1 and Debtor 2 only ) cheek if this is community property
(J At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages $ 370,000.00
you have attached for Part 1. Write that number here. ............scsssccessesecsscsectecensnaasceneececeuccessesececececsucesccceerucessees > a

 

 

 

ee Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report iton Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

No
O) Yes
3.1. Make: Who has an interest in the property? Check one. _ 6 not deduct secured claims or exemptions. Put
D2) Debtor 4 ont the amount of any secured claims on Schedule D:
Model: a only Creditors Who Have Claims Secured by Property.
. LI Debtor 2 only
Year: Current value of the Current value of the

Approximate mileage:

Other information:

|

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

C) Debtor 4 and Debtor 2 only
CL} At least one of the debtors and another

C] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
CI Debtor 4 only

C) Debtor 2 only

UI Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C] Check if this is community property (see
instructions)

Schedule A/B: Property

entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 2
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13
Case number (fknown) 19-50920

 

Who has an interest in the property? Check one.

Debtor1 John J. Burkkhardt Jr.
First Name Middie Name
3.3. Make:
Model: CI Debtor 1 only
CI Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

I

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles,

CQ) Debtor 4 and Debtor 2 only
CJ At least one of the debtors and another

C1 Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

UI Debtor 1 only

CJ Debtor 2 only

CY Debtor 4 and Debtor 2 only

(J At least one of the debiors and another

(CJ Check if this is community property (see
instructions)

Page 5 of 45

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the :
entire property? portion you own?

and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No
LQ Yes

4.1. Make:
Model:

—_—

 

Year:

Other information:

 

i

If you own or have more than one, list here:

4.2, Make:
Model:

Year:

a

Other information:

 

 

|

5. Add the dollar value of the portion you own for all of
you have attached for Part 2. Write that number here

Official Form 106A/B

 

Who has an interest in the property? Check one.
C) Debtor 1 only

LJ Debtor 2 only

UJ Debtor 1 and Debtor 2 only

C} At east one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
Q Debtor 4 only

CJ Debtor 2 only

LI Debtor 1 and Debtor 2 only

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

entire property? ortion you own?
CI At feast one of the debtors and another Property P ”
) Check if this is community property (see $ $
instructions)
your entries from Part 2, including any entries for pages > 0.00

 

Schedule A/B: Property

page 3

 
Case 19-50920 Docg9 Filed 07/23/19 Entered 07/24/19 16:12:13
Debtor 4 John J. Burkkhardt Jr.

First Name Middle Name. Last Name

ee Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

Page 6 of 45
Case number (known) 19-50920

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

 

 

 

QO) No .
i Yes. Desoribe......... kitchenware $ 50.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
LI No
i Yes. Desoribe.......... radio, computer, cell phones, camera, cds $ 400.00

 

 

 

- 8 Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork: books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
No

 

Q) Yes. Describe..........

 

§ 0.00

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis: canoes
and kayaks; carpentry tools; musical instruments

 

W No
LI Yes. Describe..........

 

§ 0.00

 

10. Firearms

Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No

 

C) Yes. Describe..........

 

$ 0.00

 

 

 

 

$ 300.00 -

 

 

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
C No
Yes. Describe. ....... Everyday clothes, shoes, coats
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
4 No

 

 

C} Yes. Deseribe...........

§ 0.00

 

 

_ 13.Non-farm animals
Examples: Dogs, cats, birds, horses

id No

 

C] Yes. Describe...........

$ 0.00

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

id No

 

C) Yes. Give specific
information. ..........004

 

$ 0.00

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here

 

$ 750.00

 

 

Official Form 106A/B Schedule A/B: Property

 

page 4

 
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13 Page 7 of 45
John J. Burkkhardt Jr. Case number (tinown19-50920

First Name Middle Name Last Name

FEE ve scrive Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

Debtor 1

 

 

Current value of the
portion you own?

Do not deduct secured claims -

 

 

 

 

 

 

 

 

 

 

 

or exemptions.
16.Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

LC] No

4 Yes CASH! w.eeseeeeeeeseenee $ 60.00

17. Deposits of money /
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

UL] No

2 i (- Institution name:
17.1, Checking account: $ 2,468.00
17.2. Checking account: $ 0.00
17.3. Savings account: $ 0.00
17.4, Savings account: $ 0.00
17.5. Certificates of deposit: $ 0.00
17.6. Other financial account: $ 0.00
17.7. Other financial account: $ 0.00
17.8. Other financial account: $ 0.00
17.9. Other financial account: $ 0.00

. 18.Bonds, mutual funds, or publicly traded stocks

Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No

OD Yes... institution or issuer name:

0.00
0.00

 

$ 0.00

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

WU No

%

 

%

 

Name of entity: % of ownership:
CO) Yes. Give specific 0%
information about
HREM... ceccecseessecneees 0%
0%

Official Form 106A/B

Schedule A/B: Property

%

$ 0.00
$ 0.00
0.00

page 5
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Burkkharat Jr.

Debtor? John J.

Case number (known), 19-50920

Page 8 of 45

 

 

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

WY No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

QQ Yes. Give specific Issuer name:
thom $ 0.00
§ 0.00
$ 0.00
21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No
L) Yes. List each
account separately. Type of account: institution name:
401{k) or similar plan: $ 0.00
Pension plan: $ 0.00
IRA: $ 0.00
Retirement account: $ 0.00
Keogh: $ 0.00
Additional account: $ 0.00
Additional account: $ 0.00
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
No
ee Institution name or individual:
Electric: $ 0.00
Gas: $ 0.00
Heating oil: $ 0.00
Security deposit on rental unit: $ 0.00
Prepaid rent: $ 0.00
Telephone: $ 0.00
Water: $ 0.00
Rented furniture: $ 0.00
Other: $ 0.00
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Wi No
CD Ves oe ceeeeessssssseeeee Issuer name and description:
0.00
$ 0.00
$ 0.00
Official Form 106A/B Schedule A/B: Property page 6
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13 Page 9 of 45

Debtor 1 John J.

Burkkharadt Jr.

 

First Name Middie Name

Last Name

Case number (known) 19-50920

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No
CD Ves occ ccesssecectssssssesesseese

institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

0.00

 

 

0.00

0.00

 

$ 0.00

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1 ), and rights or powers

exercisable for your benefit
No

 

LI] Yes. Give specific
information about them....

 

§ 0.00

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

Wi No

 

C] Yes. Give specific
information about them....

 

§ 0.00

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Wi no

 

UI Yes. Give specific
information about them....

 

§ 0.00

 

 

Money or property owed to you?

28. Tax refunds owed to you

Wino

C) Yes. Give specific information
about them, including whether
you already filed the returns
and the tax years. «0...

29. Family support
Examples: Past due or lump sum alimony,

No
CQ Yes. Give specific information..............

30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay,

 

 

 

 

Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

Spousal support, child support, maintenance, divorce settlement, property settlement

 

 

 

 

Social Security benefits; unpaid loans you made to someone else

Wi No

DQ) Yes. Give specific information...............

Official Form 106A/B

 

vacation pay, workers’ compensation,

 

 

Federal: $ 0.00

State: $ 0.00

Local: $ 0.00
Alimony: $ 0.00
Maintenance: $ 0.00
Support: $ 0.00
Divorce settlement: $ 0.00
Property settlement: $ 0.00

$ 0.00

 

 

Schedule A/B: Property

page 7

 
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13 Page 10 of 45
Debtor1 John J. Burkkhardt Jr. Case number crinow) 1950920

First Name Middle Name Last Name

: 31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’, or renter’s insurance

YW No

Q) Yes. Name the insurance company —_ Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...
$ 0.00

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

4 No

Q) Yes. Give specific information

 

 

5 0.00

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

No
UL) Yes. Describe each claim. .................... 0.00

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

No
CI Yes. Describe each claim. ......... 0.00 -

 

 

 

 

35. Any financial assets you did not already list

WA No

C Yes. Give specific information............ $

 

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for Pages you have attached
for Part 4. Write that number here > $ 2,528.00

 

 

 

BEER vescrive Any Business-Related Property You Own or Have an interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
4 No. Go to Part 6.
CI Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims

 

or'exemptions.
38. Accounts receivable or commissions you already earned
No
CQ) Yes. Describe....... i |

 

 

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

C) No
C) Yes. Describe....... $

 

 

Official Form 106A/B Schedule A/B: Property page 8
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Debtor? John J. Burkkhardt Jr. Case number (inom 19-50920

First Name Middle Name Last Name

 

 

. 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

 

 

L] No

C Yes. Describe....... $
41. Inventory

C2 No

UC] Yes. Deseribe....... $

 

 

 

42. Interests in partnerships or joint ventures

LC] No

LY Yes. Describe....... Name of entity: % of ownership:

% $
%
% $

A

43. Customer lists, mailing lists, or other compilations
OC No
LI Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
C3 No
C1 Yes. Deseribe........

 

 

 

 

44. Any business-related property you did not already list
UI No
CI Yes. Give specific

 

information .........

 

 

 

PPA Ff Ff Ff

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00
for Part 5. Write that number here >

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

. 46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
if No. Go to Part 7.
(} Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
UL] No
CD Ves oo essseeceseseee
$

 

 

 

Official Form 106A/B Schedule A/B: Property page 9
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13

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Debtor1 John J. Burkkhardt Jr. Case number ¢rtrown_19-50920

 

 

First Name Middle Name Last Name

- 48.Crops—either growing or harvested

(3 No

 

CI Yes. Give specific
information. ............

 

 

 

49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

C] No :

 

 

 

 

 

 

 

 

51. Any farm- and commercial fishing-related property you did not already list

LL} No

 

O) Yes. Give specific
information. ............

 

 

52. Add the doilar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here

 

 

>

 

0.00

 

FEeeka| Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

 

No
C) Yes. Give specific
information. ............

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here

 

List the Totals of Each Part of this Form

 

 

0.00

 

 

55. Part 1: Total real estate, line 2

 

56. Part 2: Total vehicles, line 5 gs «9.00
57. Part 3: Total personal and household items, line 15 $ 750.00
58.Part 4: Total financial assets, line 36 g__—2,928.00
59. Part 5: Total business-related property, line 45 gs _———i.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00
61.Part 7: Total other property not listed, line 54 +S 0.00
62. Total personal property. Add lines 56 through 61, ......cssese | $. 3,278.00

 

 

63. Total of all property on Schedule A/B. Add line 55 + line 62............. seecteseesseesneess

Official Form 106A/B Schedule A/B: Property

Copy personal property total > +3

> ¢$ 370,000.00

3,278.00

 

 

$ 373,278.00

 

page 10

 

 

 
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MMM rel COMIe MALU mer CroH

Debtor 1 John . Burkhardt Jr.

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Connecticut

Case number 19-50920 L) Check if this is an
{if known) amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

| Part 4: identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
CJ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property portion you own /
Copy the value from Check only one box foreach exemption.
Schedule A/B :
Brief 146 Culloden Road __—_ $370,000.00 g
description: SE=S———oeer OV , : $
Line from i 100% of fair market value, up to
Schedule A/B: 1.1 : any applicable statutory limit
Brief
description. § ——————————_-_._ §. Os
Line from LJ 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief "
description: ————_____ § Lig
Line from LI 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

OL No
W Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

| No
QO) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 1
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13

Debtor 1 John

First Name

J.

Page 14 of 45

Burkhardt Jr. Case number (rimoum, 19-50920

Middle Name Last Name

| rare 2: Ra Page

 

Brief description of the Property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B;:

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

- Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B;

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

 

Current value of the | Amount of the exemption you claim Specific laws that allow exemption
portion you own

Copy the value from Check only one box for each exemption
Schedule A/B
$ Os

 

 

CY 100% of fair market value, up to
any applicable statutory limit

$ ig
CL) 100% of fair market value, up to
any applicable statutory limit

 

$ Os
CL) 100% of fair market value, up to
any applicable statutory limit

 

 

$ Os

CI} 100% of fair market value, up to
any applicable statutory limit

 

$ Os

0) 100% of fair market value, up to
any applicable statutory limit

 

$ Os
(1 100% of fair market value, up to

any applicable statutory limit

$ Os

C1] 100% of fair market value, up to
any applicable statutory limit

 

$ Os

CI 100% of fair market value, up to
any applicable statutory limit

 

$ Os

CI) 100% of fair market value, up to
any applicable statutory limit

 

$ Cs

CJ 100% of fair market value, up to
any applicable statutory limit

 

$ Lig
C) 100% of fair market value, up to
any applicable statutory limit

 

 

$ Cis
C) 100% of fair market value, up to
any applicable statutory limit

 

 

Schedule C: The Property You Claim as Exempt page 2. of 1_
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13 Page 15 of 45

FURR m om th me mec

John J.

First Name Middle Name

Burkhardt Jr

Last Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name

 

Middie Name Last Name

United States Bankruptcy Court for the: District of Connecticut
19-50920

 

Case number
{If known)

 

 

(J Check if this is an
amended filing

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

12/15

1. Do any creditors have claims secured by your property?
LI No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
W Yes. Fill in all of the information below.

Roa List All Secured Claims

 

  
 

 

¢ nA Column C.
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately ‘Amount of cl: Unsecured _
for each claim. {f more than one creditor has a particular claim, list the other creditors in Part 2. ae portion
As much as possible, list the claims in.alphabetical order according to the creditor's name: lfany |

[2.1] MTGLO Investors. LP 409,975.86 ¢ sropo0 0) cu er666

 

 

 

 

 

 

 

 

 

Describe the property that secures the claim: $

Creditor’s Name

0 iMac 146 Culloden Road

200 West Street Stamford. CT 06902

Number Street tamfor 3 0
As of the date you file, the claim is: Check all that apply.
Q Contingent

New York NY 10282 i unliquidated

City State ZIP Code

Who owes the debt? Check one.

iif Debtor 1 only

C Debtor 2 only

C1 Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

C) Check if this claim relates to a
community debt

Date debt was incurred 04/18/200£

Q Disputed
Nature of lien. Check all that apply.

wf An agreement you made (such as mortgage or secured
car loan)

O Statutory lien (such as tax lien, mechanic's lien)

OQ Judgment lien from a lawsuit

C) other (including a right to offset)

Last 4 digits of account number _3° oO 8 8

 

 

 

 

 

 

 

 

 

 

 

 

| 2.2) Internal Revenue Service Describe the property that secures the claim: $. 29,000.00 $ $
Creditors Name
146 Culloden Roar
P.O. Box 7346 Stamford, CT 06902
Number Street 3
As of the date you file, the claim is: Check all that apply.
i . QO Contingent
Philadelphia PA 19101 ff Unliquidated
City State ZIP Code 2 disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
i Debtor 1 only Cl An agreement you made (such as mortgage or secured
QO Debtor 2 only car loan)
QQ Debtor 1 and Debtor 2 only wy Statutory lien (such as tax lien, mechanic's lien)
C) Atleast one of the debtors and another C2 Judgment tien from a lawsuit
C1 other (including a right to offset)
1 Check if this claim relates to a
community debt .
Date debt was incurred 01/01/2007 Last 4 digits of account number _ 6 _O 4 2
Add the dollar value of your entries in Column A on this page. Write that number here: __439.975.86 |

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 2

 
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Debtor 4 John J. Burkhardt Jr Case number (known. 19-90920
First Name Middle Name Last Name
Additional Page ColumA ——— ColumnB_ Column C
‘Amount of claim _ Value of collateral “Unsecured

 

by 2.4, and so forth.

After listing any entries on this page, number them beginning with 2.3, followed

 

 

 

 

Radius Global Solutions

 

Creditors Name

 

 

 

 

Do not deduct the that supports this portion
value ofcollateral, claim. = Ifany
Describe the property that secures the claim: $ $ $
146 Culloden Road
Stamford, CT 06902

 

 

 

 

7831 Glenroy Road

Number Street

Suite 250

Edina MN 55439
City State ZIP Code

Who owes the debt? Check one.

& Debtor 1 only

U) Debtor 2 only

CD Debtor 1 and Debtor 2 only

U1 Atleast one of the debtors and another

(2) Check if this claim relates to a
community debt

Date debt was incurred 12/14/20

As of the date you file, the claim is: Check all that apply.
Q Contingent

Q) unliquidated

wo Disputed

Nature of lien. Check all that apply.

Q) An agreement you made (such as mortgage or secured
car loan)
QO Statutory lien (such as tax lien, mechanic’s lien)

C1 Judgment lien from a lawsuit .
@ other (including a right to offset) Collection12/14

Last 4 digits of account number_6 9 3 2

 

LJ

 

Creditors Name

Describe the property that secures the claim: $ $ $

 

 

Number Street

 

 

 

 

 

City State ZIP Code
Who owes the debt? Check one.
Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
At least one of the debtors and another

O OOO

Check if this claim relates to a
community debt

Date debt was incurred

As of the date you file, the claim is: Check all that apply.

QO Contingent

Q Unliquidated

C2 Disputed

Nature of lien. Check all that apply.

(2 An agreement you made (such as mortgage or secured
car loan)

QO Statutory lien (such as tax lien, mechanic’s lien)

QO Judgment lien from a lawsuit

C) other (including a right to offset)

Last 4 digits of account number ___

 

LI

 

Creditor’s Name

Describe the property that secures the claim: $ $ $

 

 

Number Street

 

 

 

 

 

City State ZIP Code

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

CO ooog

Check if this claim relates to a
community debt

Date debt was incurred

 

....Write that number here:

Add the dollar value of your entries in Column A on this page. Write that number here:
If this is the last page of your form, add the dollar value totals from all pages. ,

As of the date you file, the claim is: Check all that apply.

QO Contingent

CU) Unliquidated

Q) Disputed

Nature of lien. Check all that apply.

QO) An agreement you made (such as mortgage or secured
ear loan)

QO Statutory lien (such as tax lien, mechanic’s lien)

Q Judgment lien from a lawsuit

O) other (including a right to offset)

Last 4 digits of account number ___

 

 

 

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page2 _ of 3
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13 Page 17 of 45

Debtor 4 John J. Burkhardt Jr Case number (irknown, 1 9-80920

First Name Middle Name Last Name

EERE tise Others to Be Notified for a Debt That You Already Listed

_ Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection

, agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
> you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
_ be notified for any debts in Part 1, do not fill out or submit this page.

On which line in Part 1 did you enter the creditor? 2.1

McCalla Raymer Leibert Pierce, LLC

 

 

 

 

Name Last 4 digits of accountnumber_3 0 8 8
50 Weston Street

Number Street

Hartford CT 06120

City ZIP Code

State

 

 

 

 

 

 

On which line in Part 1 did you enter the creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Last4 digits ofaccountnumber
Number Street
City State ZIP Code
On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ _
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
: Name Last 4 digits of account number 3 Oo 8 8
Number Street
City State ZIP Code
On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number Le
Number Street
City State ZIP Code
[| On which line in Part 1 did you enter the creditor?
Name Last4 digits ofaccountnumber
Number Street
City

State

ZIP Code

 

Official Form 106D

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

pageS__ of 3__

 
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aR CM rele erty ets) identify your case:

   

    

 

     
    

 

Debtor? John J. Burkhardt Jr
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

     

United States Bankruptcy Court for the: District of Connecticut
Case number 19-50920

(if known)

 
 

   

 

 
 

 

 

Official Form 106E/F

 

Page 18 of

45

Q) Check if this is an
amended filing

Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
le

List the other party to

any executory contracts or unexpired leases that could result inaclaim. Also!
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Un
th

12/15

ist executory contracts on Schedu:

needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of

any additional pages, write your name and case number (if known).

| Part 1: All of Your PRIORITY Unsecured Claims

:

i 1. Do any creditors have Priority unsecured claims against you?
: No. Go to Part 2.
Q Yes.

2. List all of your priority unsecured claims.Ifa creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
: each claim listed, identify what type of claim it is..f a claim has both priority and nonpriority amounts: fi : }
nonpriority amounts. As much as possible, list the claims in alphabetical order according to ‘the credit
unsecured claims; fill out the Continuation Page of Part 4. If more than one creditor holds'a particular c

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 
 

3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Priority Nonpriority_
amount amount :
2.1 :
Last 4 digits of account number ___ __ _ & $ § :
Priority Creditor’s Name ;
When was the debt incurred? i
Number Street :
As of the date you file, the claim is: Check all that apply. :
: City Stale ZIP Code OI Contingent i
i ; > Q Unliquidated
Who incurred the debt? Check one. oO Disputed
: C) Debtor 1 only :
: CO Debtor 2 only Type of PRIORITY unsecured claim: :
4 Debior 1 and Debtor 2 only CT Domestic support obligations :
At least one of the debtors and another QO) Taxes and certain other debts you owe the government
C1 check if this claim is for a community debt OQ claims for death or personal injury while you were i
Is the claim subject to offset? intoxicated
QO) No C2 other. Specify
QD) Yes
p2 | Last 4 digits of account number Le — $ $ $
: Priority Creditors Name
: When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Oo Contingent
City State ZIP Code O) unliquidated
Who incurred the debt? Check one. 1 Disputed
4 Denes oy Type of PRIORITY unsecured claim:
ebtor 2 only . .
gO Debtor 1 and Debtor 2 only Q Domestic support obligations
Oat least one of the debtors and another o Taxes and certain other debts you owe the government
Claims for death nal injury while you were
Q) Check if this claim is fora community debt intordestod 22 OF Personal injury while you w
Is the claim subject to offset? C Other. Specify
OQ No
yes so senna oo . cca
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 6
Case 19- $0920 _ Doc 9 Filed 07/23/19 Entered 07/24/19 16:12:13

Debtor1 John

Page 19 of 45
Burkhardt Jr 0

Case number (if known), 19-5

 

First Name Middle Name Last Name

ee Your PRIORITY Unsecured Claims — Continuation Page

 

i After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

Cc

 

Priority Creditors Name

 

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

0 Debtor 4 only

OQ) Debtor 2 only

O) Debtor 1 and Debtor 2 only

Q Atleast one of the debtors and another

CO) Check if this claim is for a community debt

Is the claim subject to offset?

  

Total claim 2 Priority S

 

Last 4 digits of account number ___

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
CI Unliquidated
Q Disputed

Type of PRIORITY unsecured claim:

2 Domestic support obligations
(2 Taxes and certain other debts you owe the government

( Claims for death or personal injury while you were
intoxicated

C} other. Specify

 

_ Nonpriority
. _amount

 

 

 

 

 

 

 

 

U1 No
OO Yes
Last 4 digits of account number $ $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code LI Untiquidated

Who incurred the debt? Check one.

QO) Debtor 1 only

CI Debtor 2 only

() Debtor 1 and Debtor 2 only

O Atleast one of the debtors and another

(2 Check if this claim is for a community debt

Is the claim subject to offset?

Q) Disputed

Type of PRIORITY unsecured claim:

OQ Domestic support obligations
) Taxes and certain other debts you owe the government

O) Claims for death or personal injury while you were
intoxicated

2) other. Specify

 

 

 

 

 

 

 

 

 

 

 

Q No
QO) Yes
Last 4 digits ofaccountnumber $ $ §
Priority Creditor’s Name i
When was the debt incurred? i
Number Street :
As of the date you file, the claim is: Check all that apply. :
: Q Contingent
City State ZIP Gode O) unliquidated

Who incurred the debt? Check one.

D2) Debtor 4 only

CJ Debtor 2 only

C2 Debtor 4 and Debtor 2 only

(2 At least one of the debtors and another

UJ Check if this claim is for a community debt

Is the claim subject to offset?

DL No
QO) Yes

QO) Disputed

Type of PRIORITY unsecured claim:

C} Domestic support obligations
(J Taxes and certain other debts you owe the government
(2 Claims for death or personal injury while you were

 

 

intoxicated
O other. Specify

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Ciaims

 
Case 19-50920

Debtor 1 John

FAlrst Name Middie Name Last Name

Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13
J. Burkhardt Jr

Case number (known) 19-50920

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Ey us All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

lA No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the
nonpriority unsecured claim; list the creditor separately

included in Part 1. If more than one creditor holds a particular claim, list the other creditors in

. Claims fill out the Continuation Page of Part 2.

 

alphabetical order of the creditor wh
for each claim. For each claim listed, identify what type of claim it is..Do not
Part 3.If you have more than three nonpriority unsecured

 

 

 

 

0 holds each claim. If a creditor has more than one

list claims already

_ Totalclaim

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

C2 Debtor 1 only

C2 Debtor 2 only

CI Debtor 1 and Debtor 2 only

O Atieast one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?
OQ No
Q) Yes

 

 

Official Form 106E/F

Q Contingent
CI unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

O} student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C] Debts to pension or profit-sharing plans, and other similar debts
O) otter. Specify

 

4.4

ks] Last 4 digits of account number ____ _

; Nonpriority Creditors Name $

: When was the debt incurred?

: Number Street

: City Slate ZIP Code As of the date you file, the claim is: Check all that apply.

CT Contingent

: Who incurred the debt? Check one. QO Unliquidated

: Q) Debtor 1 only QO Disputed

: CO) Debtor 2 only |

: C1 Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim: :

: OQ Atieast one of the debtors and another OQ student loans :
O) Check if this claim is for a community debt QO Obligations arising out of a separation agreement or divorce :

: that you did not report as priority claims :

i Is the claim subject to offset? LY Debts to pension or profit-sharing plans, and other similar debts :
QI No CY other. Specify i
QO) Yes :

4.2 | Last 4 digits of account number ___ — S$
Nonpriority Creditor's Name When was the debt incurred? :

Number Street

| As of the date you file, the claim is: Check all that apply. :

i City State ZIP Code O contin gent
Who incurred the debt? Check one. 1 unliquidated i
CY Debtor 1 only Q Disputed |
OQ) Debtor 2 only . :
2 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim: :
C1 Atleast one of the debtors and another CO) student loans :
Q eae —o; . Q Obligations arising out of a separation agreement or divorce :

Check if this claim is for a community debt that you did not report as priority claims :

Is the claim subject to offset? OQ Debts to pension or profit-sharing plans, and other similar debts :
DO No QO other. Specify :
OQ} Yes

4.3 eo

hs | Last 4 digits of account number __ _ :

5 Nonpriority Creditor’s Name . $e i

‘ When was the debt incurred? ;
Number Street
oly Sue ZiP Gade As of the date you file, the claim is: Check all that apply.

 

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page3_ of 6__
Case 19-50920 Doc 9 Filed 07/23/19 Entered 07/24/19 16:12:13 Page 21 of 45
Debtor? John Burkhardt Jr Case number ¢rinown 19-50920

 

 

 

 

First Name. Middie Name Last Name

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

: After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
Last 4 digits of account number oe $
Nonpriority Creditors Name
When was the debt incurred?
be r
Number Street As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent

Who incurred the debt? Check one.

Q Debtor 4 only

OQ) Debtor 2 only

O Debtor 1 and Debtor 2 only

CI At least one of the debtors and another

C] Check if this claim is for a community debt

Is the claim subject to offset?

Q) unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

Q) student toans

O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Cl] Debts to pension or profit-sharing plans, and other similar debts
C1 other. Specify

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

O No
Q Yes
Last 4 digits of account number ee $
Nonpriority Creditors Name
When was the debt incurred?
Numb Street
umber ree! As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
O) unliquidated
Who incurred the debt? Check one. Q Disputed
OQ) Debtor 4 only
D) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O) student loans
At least one of the debtors and another OQ Obligations arising out of a separation agreement or divorce that
O) Check if this claim is for a community debt you did not report as priority claims
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? O) other. Specify
CI No
QD) Yes
aoe $
Last 4 digits of account number _ __

 

Nonpriority Creditor’s Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

O) Debtor 41 only

C} Debtor 2 only

QO) Debtor 4 and Debtor 2 only

C) Atleast one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?

O1 No
Q) Yes

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

Q Contingent
Q) unliquidated
CI Disputed

Type of NONPRIORITY unsecured claim:

O) student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
OQ bDebts to pension or profit-sharing plans, and other similar debts

CJ other. Specify

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page4 of 6 __

 

 
Debtor 1

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John — J. Burkhardt Jr Case number (known, 19-50920

 

 

| Part 3: | List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
: example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the

2, then list the collection agency here. Similarly,
additional creditors here. If you do not have additi

 

 

 

 

onal persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): UL Part 1: Creditors with Priority Unsecured Claims
Number Street ) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number ___ _
a olty State ZIP Code —— scemnttonnsnn sontann _— —
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
7 Last 4 digits of account number _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Ciaims
Last 4 digits ofaccount number _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): CU) Part 1: Creditors with Priority Unsecured Claims
Number Street (2 Part 2: Creditors with Nonpriority Unsecured
Claims
: Last 4 digits of account number _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): 0) Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccount number _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street C] Part 2: Creditors with Nenpriority Unsecured
Claims
Last 4 digits of account number_— _
City State ZIP Code
Name On which entry in Part 1 or Part 2 did you list the original creditor?
. Line of (Check one): 0) Part 1: Creditors with Priority Unsecured Claims
Number Street , . a
C1 Part 2: Creditors with Nonpriority Unsecured
Claims
Slate ZIP Gode Last4 digits of account number __

City

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

paged_ of 6_
a «- the Amounts for Each Type of Unsecured Claim

}
'

': Total claims

|

 

 

Official Form 106E/F

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Debtor 4

 

First Name Middle Name Last Name

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Case number (ir known)

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

6a. Domestic support obligations

: P.
from antl 6b. Taxes and certain other debts you owe the
: government
6c. Claims for death or personal injury while you were
intoxicated
6d. Other. Add all other priority unsecured claims.
Write that amount here.
6e. Total. Add lines 6a through 6d.
Total claims 6f. Student loans
from Part 2

6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims

6h. Debts to pension or profit-sharing plans, and other
similar debts

6i. Other. Add all other nonpriority unsecured claims.
Write that amount here.

6]. Total. Add lines 6f through 6i.

 

 

6a.

6b.

6c.

6d.

6e.

6f

6g.

6h.

Gi.

6j.

Total claim :

5 0.00
§ 0.00
5 0.00

0.00

 

 

5 0.00

 

 

Total claim 8
5 0.00

5 0.00

0.00

 

0.00

 

 

5 0.00

 

 

 

 

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page 9 of B
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PUB M CMH om Am cet r-Ciod

Debtor John J. Burkhardt Jr

First Name Middle Name Last Name

 

Debtor 2
(Spouse If filing} First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: District of Connecticut

19-50920
Geo ) Check if this is an

amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/45

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
CI Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/8).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

 

 

Name

 

Number Street

 

City State ZIP Code

 

22

 

Name

 

Number Street

 

NY, cocrancinanmneicarsencnnannaann ste ZIP Code

 

 

 

 

Name

 

Number Street

 

weeny ooo csespaneecanun State ZIP Code
24

 

Name

 

Number Street

 

fo Ye ominne racemase SME ZIP CODE
25:

 

Name

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of 2
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13

Debtor1 John

Burkhardt Jr

 

First Name

Last Name

pen Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

 

Name

 

Number

Street

 

City

 

State

ZIP Code

Case number (i known)

What the contract or lease is for

Page 25 of 45

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

N
ol

 

Name

 

Number

Street

 

City

|

State

ZIP Code

 

“TR

Name

 

Number

Street

 

City

State

ZIP Code

 

ue

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

State

ZIP Code

 

 

City

 

Name

 

Number

Street

 

City

 

 

State

ZIP Code

 

Name

 

Number

Street

 

ay

Official Form 106G

cn tate

FIP COE ocosnttnvninsnevonanainane

 

 

 

Schedule G: Executory Contracts and Unexpired Leases

page2__ of 2__
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13 Page 26 of 45

UMM CRINGE m Cs ia a Cte cion

Debtor 1 John J. Burkhardt Jr.

First Name Middie Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: District of Connecticut
Case number 19-50920

(lf known)

 

CI Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/45

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

ia No
C Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No. Go to line 3.
CD Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

CO) No

C) Yes. in which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.1
C1 Schedule D, line
Name
QO) Schedule E/F, line
Number Street CL) Schedule G, line
City State ZIP Code
3.2
(2) Schedule D, line
Name
O) Schedule E/F, line
Number Street O Schedule G, line
: City State ZIP Code _
3.3
CO Schedule D, line
Name
2) Schedule E/F, line
Number Street O Schedule G, line
City State ZIP Code

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of 1
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13

Debtor 1

John

J.

Burkhardt Jr.

 

First Name

= Additional Page to List More Codebtors

Column 1: Your codebtor

Middie Name Last Name

 

 

 

Page 27 of 45

Case number (known), 19-50920

 

Column 2: The creditor to whom you owe the debt

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a Check all schedules that apply:
3._
CQ) Schedule D, line
Name
QO) Schedule E/F, line
Number Street UL] Schedule G, line
City State ZIP Code
|
* L Schedule D, line
ame
() Schedule E/F, line
Number Streat O) Schedule G, fine |
City State ZIP Code
|
x LY Schedule D, line
ame TT
( Schedule E/F, line
Number Street C] Schedule G, line
__ iy State ZIP Code
P|
x QO) Schedule D, tine
ame
(Q Schedule E/F, line
Number Street CI] Schedule G, line
: City State ZIP Gode
E|
i C] Schedule D, line
ame ——
CQ) Schedule EF, line
Number Street (] Schedule G, line.
City State ZIP Code
|
5 L) Schedule D, line
ame :
OQ Schedule E/F, line
Number Street C1 Schedule G, line
City State ZIP Code
|
Name () Schedule D, line
Q) Schedule E/F, line
Number Street OC) Schedule G, line
: City State ZIP Code
BI]
: Name (8 Schedule D, line
CI Schedule E/F, line
Number Street OQ Schedule G, line
i, City State ZIP Code

 

Officia! Form 106H

Schedule H: Your Codebtors

page. of
Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13 Page 28 of 45

Fill in this information to identify your case:

Debtor 4 John . Burkhardt Jr

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Connecticut

Case number _19-50920 Check if this is:

(if known)
m L} An amended filing

LhA supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 NM 7 DDT Wy
Schedule I: Your Income 42415

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
Separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

eka Describe Employment

ce Fill in your employment
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

If you have more than one job,

attach a separate page with
information about additional Employment status a Employed QQ) Employed
employers. CI Not employed LI Not employed
Include part-time, seasonal, or
self-employed work.

poy Occupation real Estate Broker

 

Occupation may include student
or homemaker, if it applies.

Employer’s name Keller Williams Prestige Properties

Employer's address 2/77 Summer Street
Number Street Number Street

Suite 700

 

 

 

Stamford, CT 06905

City State ZIP Code City : State ZIP Code
How long employed there? 12 yearsO 12 yearsO

Een cv Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

 

deductions). If not paid monthly, calculate what the monthly wage would be. =. 2. $ 0.00 $
3. Estimate and list monthly overtime pay. 3. +§ 0.00 + $
4. Calculate gross income. Add line 2 + line 3. 4. $ 0.00 $

 

 

 

 

 

Official Form 106i Schedule I: Your Income page 1
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Debtor1 John J. Burkhardt Jr Case number grinown 19-50920
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
mtimunu-0d: 22on-filing spouse
Copy line 4 here... eecseessescsecsssssssssesssecscenserovssussssesssasuessneannessvereceeasense >4 §$ 0.00 $

5. List all payroll deductions:
Sa. Tax, Medicare, and Social Security deductions 5a. =§ $
5b. Mandatory contributions for retirement plans 5b. §$ $
5c. Voluntary contributions for retirement plans 5o. $ $
5d. Required repayments of retirement fund loans 5d. $ $
5e. Insurance 5e. $ 25.00 $
5f. Domestic support obligations 5f. $ $.
5g. Union dues 5g. $ $
_ Bh. Other deductions. Specify: Desk and Office fees 5h. +$ 125.00 +¢
. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f+ Sg+5h. 6. $ $
_ 7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ -150.00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
i profession, or farm
: Attach a statement for each property and business showing gross
: receipts, ordinary and necessary business expenses, and the total $ 0.00 $
: monthly net income. 8a. *
| 8b. Interest and dividends 8. § 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent
: regularly receive
: Include alimony, spousal support, child support, maintenance, divorce $ 0.00 $
: settlement, and property settlement. 8c.
. 8d. Unemployment compensation 8d. $ 0.00 $
| 8e. Social Security 8e. § 755.00 $
8f. Other government assistance that you regularly receive
: Include cash assistance and the value (if known) of any non-cash assistance
: that you receive, such as food stamps (benefits under the Supplemental
: Nutrition Assistance Program) or housing subsidies.
Specify: a 0.00 $

8g. Pension or retirement income 89. ¢ 373.00 $

8h. Other monthly income. Specify: 8h. + § 0.00 +$
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h. 9.} $ 1,128.00 $
10. Calculate monthly income. Add line 7 + line 9. $ 1,078.00 $ = |s 1,078.00

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10.

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

 

 

 

 

 

 

 

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify:

 

12, Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

13.Do you expect an increase or decrease within the year after you file this form?

@ No.
Cl Yes. Explain:

12.

11+ § 0.00 |

 

ls _ 1,078.00

 

 

Combined
monthly income

 

 

 

Official Form 1061 Schedule I: Your Income

page 2

 

 
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Fill in this information to identify your case:

John . Burkhardt Jr. edie |
Debtor 4 First Name Middle Name Last Name Check if this Is:

 

 

Debtor 2 ‘
(Spouse, if filing) First Name Middie Name Q An amended filing

. . = LIA supplement showing postpetition chapter 13
United States Bankruptcy Court for the: District of Connecticut expenses as of the following date:

Case number 19-50920

MM / DD/ YYYY
{if known}

 

 

 

Official Form 106J
Schedule J: Your Expenses 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 4 | Describe Your Household

1. Is this a joint case?

 

 

A No. Go to line 2. ~
Cl Yes. Does Debtor 2 live ina separate household?

LI No
LI Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

2. Do you have dependents?
¥ P 4 No Dependent’s relationship to Dependent’s — Does dependent live

Do not list Debtor 1 and CQ Yes. Fill out this information for Debtor 1 or Debtor 2 age > with you?

 

 

Debtor 2. each dependent............ssseee

: QC) No
Do not state the dependenis g
names. : Yes

C] No
OC) Yes

C3 No
OO Yes

C) No
QC) Yes

LI No
C) Yes

 

 

 

 

 

 

3. Do your expenses include W No
expenses of people other than
yourself and your dependents? 1 Yes

ere Estimate Your Ongoing Monthly Expenses

 

 

 

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and 2033.00
$ VOd.
any rent for the ground or lot. 4,

If not included in line 4:

4a. Real estate taxes 4a. $ 500.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 100.00
4c. Home maintenance, repair, and upkeep expenses 4c. §$ 75.00
4d. Homeowner's association or condominium dues 4d. $. 0.00

Official Form 106J Schedule J: Your Expenses page 1
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Debtor? John J. Burkhardt Jr.

First Name Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

10.
11.

12.

13.
14.

16.

17.

18.

19.

20.

Official Form 106J

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, internet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: Car taxes

 

installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

 

Case number (if known) 19-50920

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6a.
6b.
6c.

6d.

10.
11.

12.
13.
14,

15a.
18b.
18¢e.

15d.

16.

1Ta.

17b.

17c.

17d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Official Form 106).

Other payments you make to support others who do not live with you.
Specify:

 

18.

19.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

20a.
20b.
20c.
20d.

20e.

Ee

Your expenses

 

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wr Ff Ff Ff Ff Ff FH FF FF

AF Ff AF

PAF Ff

A Ff Ff fh Lf

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page 2
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Debtor 1 John J. Burkhardt Jr. Case number (if known), 1 9-50920

First Name Middle Name Last Name

21. Other. Specify:

 

@ No.

Page 32 of 45

 

 

 

 

 

 

 

 

L) Yes. Explain here:

 

 

 

21. FS 0.00
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 2a. g 3,208.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $ 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ 3,208.00
23. Calculate your monthly net income.
. $ 1,078.00
23a. Copy line 12 (your combined monthly income) from Schedule 1. 23a.
23b. Copy your monthly expenses from line 22c above. 23b. .g 3,208.00
23c. Subtract your monthly expenses from your monthly income. -2. 103.00
The result is your monthly net income. 23e. $ ——
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
Official Form 106J Schedule J: Your Expenses page 3

 

 
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MUM CMeiciieye Rm UCN Col) mer cio

Debtor 1 John J. Burkhardt JR

 

 

   

 

 

 

 

 

tne
First Name Middie Name Last Name =
et
Debtor 2 t
(Spouse, if filing) First Name Middle Name Last Name Piao
re
United States Bankruptcy Court for the: District of Connecticut RD i
Case number 19-50920 Ww peng :
(if known) i } 3 :
g Check f.this is an
ta amended filing
ait
i‘: r wh
Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 4245

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

: Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?
(Wf No
: C) Yes. Name of person. . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and

Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

Signature of Debtor 2

Date 07/17/2019 Date

MM/ BD / YYYY MM/ DD / YYYY

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
Official Form 107

Case 19-50920 Doc9 Filed 07/23/19 Entered 07/24/19 16:12:13

Fill in this information to identify your case:

Debtor 1 John J

Burkhardt Jr.

 

Middle Name

First Name

Debtor 2

Last Name

 

(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court for the: District of Connecticut
Case number 19-500920

Last Name

 

(if known)

 

 

Official Form 107

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

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LQ Check if this is an
amended filing

04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

 

| Part 1: (ES Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

O) Married
wi Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

No

CI Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor1:

 

 

 

__ Dates Debtor 1 Debtor 2: :
_ lived there: ee

 

Dates Debtor 2

 

 

 

 

 

 

 

 

 

 

lived there =
UJ same as Debtor 1 CQ same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
LI same as Debtor 1 CY same as Debtor 1
From From
Number Street Number Street
To To

 

 

City State ZIP Code

 

 

City

State ZIP Code

_ 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
} states and territories include Arizona, California, \daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

UL No

W Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Ez Explain the Sources of Your Income

Statement of Financial Affairs for Individuals Filing for Bankruptcy

 

page 1
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Debtor1 vohn J. Burkhardt Jr. Case number (known, 9-900920

First Name Middle Name Last Name

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

OQ No
W Yes. Fill in the details.

 
      

 

    

        

  

 

 

 

Sources of income Grossincome ...__ Sources of income ——_—s Gross income
Check all that apply. © - (before deductions and’: Check allthatapply. (before. deductions and
oe vexelusions) eo eo Cexelusions)" = .
From January 1 of current year until O pases: commissions, $ 0.00 O Rages, commissions, $
the date you filed for bankruptey: onuses, Up oo USES, UPS
| Operating a business QQ Operating a business
For last calendar year: O Wages, commissions, oO Wages, commissions,
. bonuses, tips $ 8,848.00 bonuses, tips $
(January 1 to December 31,2018 _) Operating a business Q Operating a business
For the calendar year before that: Q Wages, commissions, U] Wages, commissions,
bonuses, tips $ 10.400.00 bonuses, tips $
; .
(January 1 to December 31,2017 Cl operating a business — [2 operating a business

- §. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Ci No
WW Yes. Fill in the details.

    
     
   

            

Gross income from

_ each source
(before deductions and _
exclusions) a :

Sources of incom

‘oss Income from
~ Describe below.

   
    

       

(before deductions and
exclusions) :

scribe below. -

   

 

 

 

 

 

 

 

 

 

 

 

From January 1 of current year until! Social Security _ ¢___—-4,530.00_
the date you filed for bankruptcy: VA Pension $ 2,238.00
For last calendar year: Social Security $ 8,916.00
(January 1 to December 31,2018) VA Pension $ 4,296.00
YYYY
$
For the calendar year before that: Social Security $ 8,844.00 $
(January 1 to December 31,2017) VA Pension $ 4,044.00
YYYY
$

 

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Debtor 1 John

J. Burkhardt Jr.

 

First Name

Middle Name

Case number (i known), 19-500920

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Last Name

 

Br List Certain Payments You Made Before You Filed for Bankruptcy

| 6, Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

CJ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

LJ No. Go to line 7.

@ Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

C) Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Wi No. Go to line 7.

CI Yes. List below each creditor fo whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ce Dates of Total amount paid Amount you still owe ‘Was this payment for...
7 $ $ OQ Mortgage
Creditors Name
O) car
Number Street C2 credit cara
C2 Loan repayment
Q Suppliers or vendors
City Slate ZIP Gode O other
$ $ Q Mortgage
Creditor’s Name
QO) car
Number Street O credit card
LY Loan repayment
Q Suppliers or vendors
City State ZIP Code C1 other
$ $ OQ Mortgage
Creditor’s Name
Cl car
Number Street CQ credit card
LY Loan repayment
Q Suppliers or vendors
City State ZIP Code Q) other

 

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Statement of Financial Affairs for Individuals Filing for Bankruptcy

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Debtor vohn J. Burkhardt Jr. Case number rirewm 19-500920

First Name Middie Name Last Name

 

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
: Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

wy No
QC) Yes. List all payments to an insider.

Dates of Total amount “Amount you still: Reason forthis payment
“payment. paid 2 OWE oS

 

$ $

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

 

 

Insiders Name

 

Number Street

 

 

City State ZIP Code

 

 

 

_ 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts guaranteed or cosigned by an insider.

YH No

QQ) Yes. List all payments that benefited an insider.
Datesof _—_—_Totalan
payment: paid.

   

_ Amount you still Reas

 

orthis payment

 

“Include creditor's name:

 

 

 

Insider's Name

 

Number Street

 

 

 

City Siate ZIP Code

 

 

insider's Name

 

Number Street

 

 

 

 

lO ccc eens arin mine incon SEE ZIP CONE nen

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Debtor? John J. Burkhardt Jr. Case number (rimonn, 19-900920

First Name Middie Name Last Name

 

 

Ez Identify Legal Actions, Repossessions, and Foreclosures

_ 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, |
and contract disputes.
OU No
@ Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

 

"Nature ofthe case oe Court or agency a : ee Status of the case
Foreclosure .
Stamford Superior Court
Case tile Wells Fargo Bank as Tru SoutNana CO Pending
v.Burkhardt, John J. Jr Hoyt Street U1 on appea
Number Street CQ] Concluded
Case number FST-CV-14-602082¢ Stamford CT 06905
City State ZIP Code
Case title Court Name Q) Pending
OQ On appeal
Number Street O Concluded
Case number
City State ZIP Code

 

 

 

: 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

W No. Goto line 11.
CI) Yes. Fill in the information below.

Describe the property

   

 

 

 

 

 

 

 

 

 

 

 

 

 

= Value of the property
$
Creditor's Name
Number Street ‘Explain what happened _ oe
Q Property was repossessed.
| Property was foreclosed.
C] Property was garnished.
City State ZIP Code O Property was attached, seized, or levied.
Describe the property o vee oe ee _ o> Date oe ‘Value of the property
$
Creditors Name '
}
—

 

 

 

Number Street oe. ee
Explain what happened © oe

CQ Property was repossessed.

 

OQ Property was foreclosed.
() Property was garnished.
L) Property was attached, seized, or levied.

 

City State ZIP Code

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Debtor 1 John J. Burkhardt Jr. Case number (known) 19-500920

 

 

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

UW No

CI Yes. Fill in the details.

Describe the action the creditortoomk = = +=~=~=~~—_.__Dateaction Amount
Bo was taken: SERS

 

 

 

Creditors Name

fe

 

Number Street

 

 

 

City "State ZIP Code Last 4 digits of account number: XXXX-___

: 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

No
C Yes

| Part 5: | List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

Wi No
L) Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

Gifts with a total value of more than$600.-Describethegifts = == —«—=—=<—~Ss(sti‘<=~‘“‘i=C=<~<=;~S:S*: ates your ganve ~=— Vale
(perperson a8 the gifts ee
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with.a total value of more than $600 Describethegifts a Dates you gave Value
per person 0 eee os EO ee ano fet Os the gifts) 2. web ede
- $
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZIP Code

 

Person's relationship to you |

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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Debtor1 John J. Burkhardt Jr. Case number (know 19-000920

First Name Middle Name Last Name

 

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

WM No
C] Yes. Fill in the details for each gift or contribution.

 

 

Gifts or contributions to charities ‘Describe what you contributed oe oo Date you = -Value
that total more than $6000 Se contributed

$
Charity’s Name

$

 

 

Number Street

 

 

 

City State ZIP Code

Eo List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
: disaster, or gambling?

wy No
(CQ Yes. Fill in the details.

 

Describe the property’ you lost and ERS Describe any insurance > coverage for the loss : See ] SRE : : Date of.your.. Value of property
how the joss ‘occurred - 4 S : _ MOSS lost”

   
 

Include ‘the: amount that i insurance ‘has paid.

ist pending insurance
_ Claims online 33. of Schedule NB. Property :

       

 

 

 

 

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

No
Cl Yes. Fill in the details.

 

 

 

 

 

Description and value of any property transferred oe Date payment or Amount of payment
SES OSS UO es transfer was... DERE
Person Who Was Paid & JS EI Ses EES SS Ooi. Simade noes
Number Street $
$

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

 

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pebtor1 John J. Burkhardt Jr. Case number «rina, 19-500920

First Name Middle Name Last Name

 

 

Description and value of any property transferred ee Date payment or: “Amount of .
: see me ee OE : transfer was made ‘payment:

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

@ No

CO Yes. Fill in the details.

Pe Date payment o or Amount of payment.
transfer was" 8 a oe

Description and value of any property transferred
ae oe _ | Eanters

 

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

 

 

| 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

Do not include gifts and transfers that you have already listed on this statement.

No

(I Yes. Fill in the details.

 

Description and value of property. af Describe any property or payments received : Date transfer :
“transferred. — a oy oF. debts paid i in. exchange _ ee eS “was made.

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

 

Person's relationship to you

 

 

 

 

Person Who Received Transfer

 

Number Street

 

 

 

 

 

City State ZIP Code

 

Person's relationship to you

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Debtor? John J. Burkhardt Jr. Case number (tinown_19-500920

First Name Middle Name Last Name

 

 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settied trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

| No
L) Yes. Fill in the details.

Description and value of the property transferred ee Z pe Date transfer
Cs SEIS es oe SU a ees : was made |

 

Name of trust

 

 

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, .
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

@ No

C2 Yes. Fill in the details.

 

 

“Last 4 digits of account number . ‘Type of account or S Date account was. Last balance before
ee 9 oo instrument closed, sold, moved, "closing or transfer:
CEES CE ortransferred: : pe
Name of Financial Institution
XXXX- Oo Checking $
O Savings

Number Street
QO Money market

 

Q Brokerage
City State ZIP Code oO Other

 

 

 

 

XXXX—__ Cl checking $

Name of Financial Institution
QO Savings

 

Number Street Q Money market

 

Q Brokerage
QO Other.

 

City State ZIP Code

21, Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

a No
Cl) Yes. Fill in the details.

 

 

 

 

 

 

 

 

Who else had access to it?” ee | Describethecontents. : Do you still

(a ee ee have it?
i

0 No
I

Name of Financial Institution Name i U Yes
Number Street Number Street |
/
j
City State ZIP Code |
City State ZIP Code

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 
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Debtor 1 John

J.

Burkhardt Jr.

 

First Name Middle Name

2 No
CI Yes. Fill in the details.

Last Name

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Case number (known), 19-500920

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

 

 

 

 

 

 

 

 

 

 

@ No

 

Owner’s Name

Number Street

‘Where is the property?

Who else ‘has or had access to it? Describe the contents’ Do you still
: - “ : “eke ae coe cave it?
:
| ONo
Name of Storage Facility Name O Yes
i
Number Street Number Street i
CityState ZIP Code i
i
- _. State ZIP Code i
Se Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
CQ) Yes. Fill in the details.
Describe the property

Value

 

 

Street

 

 

 

City State

 

City State

 

ZiP Code

ZIP Code

xa Give Details About Environmental! Information

: For the purpose of Part 10, the following definitions apply:

 

 

 

including statutes or regulations controlling the cleanup of these substances, wastes, or material.

_ a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,

: = Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

 

substance, hazardous material, pollutant, contaminant, or similar term.

: Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

_ = Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Wi No

CI Yes. Fill in the details.

 

~ Governmental unit:

Environmental law, if you know It.

Date ofnotice

 

 

Name of site

Governmental unit

 

 

 

 

Number Street

 

 

City State

Official Form 107

ZIP Code

Number Street

City State ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

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pebtort John J. Burkhardt Jr. Case number yrinown, 19500920

First Name Middle Name Last Name

 

' 25.Have you notified any governmental unit of any release of hazardous material?

@ No

QO] Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

: Governmental unit ce Environmental law; if you know it o>. Date of notice :
: ' E N
i Name of site Governmental unit i
i Number Street Number Street i
j i
i é
: City State ZIP Code

i

i

City State ZIP Code

   

 

: 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Wi No

C) Yes. Fill in the details.

 

 

 

 

 

 

“Courtoragency  =—=—~CSs*é=“‘“«s~CS:*CSNNatrez ofthe case Status of the :
Case title. : :
Court Name : O Pending
Q On appeal
Number Street O Concluded
| i
Case number City State ZIP Coda

 

ao Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
w Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

O) A member of a limited liability company (LLC) or limited liability partnership (LLP)

Qa partner in a partnership

QO An officer, director, or managing executive of a corporation

 

CQ An owner of at least 5% of the voting or equity securities of a corporation

Cd No. None of the above applies. Go to Part 12.
W@ Yes. Check all that apply above and fill in the details below for each business.
Describe. the nature of the business _ - me oe - Employer Identification number
Jay Burkhardt, Realtor a "Do not include Social Security number or ITIN.
Business Name

 

 

 

Real Estate Broker

 

 

 

 

2777 Summer Street EIN: _ -_
Number Street . . . / .
Suite 700 _ Name of accountant or bookkeeper 0 Dates business existed ce

None

 

ity, State ZIP Code _

“Describe the nature of the business SoM eC : * Employer Identifi cation number :
Cee oe : ‘Do not include Social Security number or ITIN.

 

 

 

Business Name

 

 

 

 

EIN;
Number Street me sce - | _
Name of accountant or bookkeeper 2. : Dates business existed
From To

 

 

 

 

 

City State ZiP Code

 

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Debtor1 John J. Burkhardt Jr. Case number (inowm_19-500920

First Name Middle Name Last Name

 

 

 

“Employer Identification number

Describe the nature of the business : " ee ee :
: os : : “Do not include Social Security number-or ITIN.

 

 

 

 

 

 

Business Name

EIN:
Number eet Name of accountant or bookkeeper Cee : : Dates business. existed

From To
City State ZIP Code

 

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

© no

C) Yes. Fill in the details below.

Date issued : oe

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

iclemrie Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

bo

    
 

Me

 

Sighature of B febtor 1 Signature of Debtor 2

Date 07/17/2019 Date
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
w No
CO) Yes

Did you pay or agree to pay someone whe is not an attorney to help you fill out bankruptcy forms?
WW No

CI Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

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